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                                                                 Monday, 27 August, 2018 05:16:24 PM
                                                                         Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   ROCK ISLAND DIVISION

KEWU ZHAN,                                     )
                                               )
                   Plaintiff,                  )
                                               )
v.                                             )
                                               )
PATRICK F. HOGAN; CMB EXPORT                   ) No. 4:18-CV-04126-SLD-JEH
INFRASTRUCTURE INVESTMENT GROUP                )
48 LP; CMB EXPORT LLC; CMB ILLINOIS            )
REGIONAL CENTER LLC D/B/A CMB                  )
REGIONAL CENTERS; NK IMMIGRATION               )
SERVICES, LLC,                                 )
                                               )
                   Defendants.                 )

                     MOTION TO DISMISS AND MEMORANDUM OF LAW

                                          August 27, 2018



                                          Respectfully submitted,

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         A. Plaintiff Has Not and Cannot Plead the Elements of Fraud. .........................................10

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                   1. Defendants had no fiduciary relationship with Plaintiff, and so
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          Defendants, by and through undersigned counsel, pursuant to Fed. R. Civ. P. 12(b)(6) 4,

hereby move to dismiss Plaintiff Zhan’s Complaint. In support thereof, Defendants state as

follows:

                                      MOTION TO DISMISS

          Plaintiff’s Complaint largely constitutes a distorted indictment of the EB-5 program

nationally, followed by a recitation of Mr. Zhan’s personal grievances against the program as it

has allegedly affected him. He makes a number of inflammatory and conclusory statements

concerning Defendants and the EB-5 program, but those statements are largely made for effect

and are not factual allegations that belong in a well-pleaded complaint. Not least, Plaintiff

accuses his immigration attorney, with whom he worked in subscribing to the partnership, of

making promises in Chinese that expressly contradict CMB’s official documents in English;

Plaintiff attributes the apparent unethical conduct of his attorney to CMB, even though Plaintiff

does not and cannot show that this immigration attorney was an agent of CMB because he was

not1; Plaintiff misapprehends the public group of companies created to manage a partnership and

related real estate investments labeling it a shell game; and Plaintiff attributes knowledge of the

significant visa availability delays for mainland Chinese investors in 2015 when Plaintiff entered

into the partnership to certain Defendants2, even though Defendants have no authority vis-à-vis

immigration policy and the risk now complained of was expressly disclosed.

          Should this case go forward in this forum, Defendants will show that the nature, risks and

potential benefits of Plaintiff’s investment are clearly documented in materials Plaintiff was

provided.          Defendants will show that Plaintiff agreed to those risks, and that the

1
    Many of Plaintiff’s actions lie against his immigration attorney, but those actions may be time-
     barred, leading Zhan to seek relief here.
2
    Neither Patrick Hogan nor CMB Illinois Regional Center are parties to the subject agreements.



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misrepresentations Plaintiff attributes to these Defendants were actually made, if at all, by his

own agent not subject to Defendants’ control or agency.

         Notwithstanding whether Plaintiff’s allegations are correct, or even directed at the

appropriate parties, however, Plaintiff has not stated claims upon which relief can be granted

against these Defendants.

I.       Count I Fails to State a Claim Upon Which Relief may Be Granted.

         Plaintiff’s first claim for relief, brought pursuant to 15 U.S.C. § 80a, purports to set forth

entitlement to rescission of a contract on the grounds that the Defendants allegedly sold

securities as an unregistered investment company.           As grounds therefor, Plaintiff attacks

Defendants’ new commercial enterprise, referred to herein as Group 48. Group 48 was formed

in accordance with the dictates of the EB-5 Program to manage investments by foreign nationals

for the purpose of allowing those investors to participate in the EB-5 Program. Plaintiff

concludes that Defendants’ investment vehicle was a security pledged to collateralize a loan, and

Defendants should have registered as an investment company under the Investment Company

Act of 1940 (“ICA”).

         Even if Plaintiff were correct, which Defendants dispute, Plaintiff has no private right of

action under 15 U.S.C. § 80(a). No private right of action is created by the securities laws for

failure to register as an investment company under 15 U.S.C. § 80(a). Where no private right of

action is expressly granted, none may be inferred. In other words, any violation of the ICA by

Defendants’ alleged failure to register may be actionable by federal regulatory authority, but not

by Plaintiff.

         For the foregoing reasons, and for the reasons set forth in the accompanying

memorandum of law, Count I must be dismissed.




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II.      Plaintiff’s Count II Fails to State a Cognizable Claim.

         In order to state a claim of fraud, a Plaintiff must state with particularity the

circumstances constituting the fraud. The gravamen of Count II is the allegation that Defendants

– not Mr. Hogan individually, though he is lumped in with all other defendants for the purpose of

this and other of Plaintiff’s claims – asserted that the limited partnership are not securities under

federal law. Complaint, ¶ 49, citing PPM at 15. Plaintiff then draws the legal conclusion that

this statement was wrong, Complaint, ¶¶49-50, but then recognizes the very provision which

addresses the risk in the event of applicability of U.S. Securities law. Complaint, ¶ 52. The

Complaint is devoid of allegations that assert statements made for the purpose of defrauding

investors. Rather, the allegations demonstrate mere speculation that Defendants must have

known this investment was a security.

         For the sake of this motion, even if Defendants were wrong in their belief that these

investments were not securities, the pleading standard for fraud has not been met.

         Moreover, the allegedly fraudulent statement does not concern facts or circumstances

arising outside the context of the securities laws, a prerequisite to support a cause of action here.

The securities laws were established to police the disclosure of material information to potential

investors. The question of whether an investment is a security does not form the basis for a

private cause of action: rather, if an investment is a security, Plaintiff must show that Defendants

made a false or misleading statement or omission of information required to be disclosed under a

duty that is separate from the disclosure and registration requirements of the securities laws. For

example, statements regarding financial stability of a marketed security, experience of a fund’s

managers, or the nature and purpose of the investment itself are all statements that, if made




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fraudulently, would induce someone to invest under false and misleading circumstances. The

sole materiality statement made by Plaintiff is that he claims it is material that he would not be

protected by the securities laws because of Defendants’ purportedly false statement that the

investment was not a security; yet, he further claims he did not read (or initially even receive) the

documents. Thus, when Plaintiff did sign the Agreements, there could have been no reliance on

any statements allegedly made by Defendants. However, this is not the type of statement that

gives rise to a cause of action under Section 10b-5 of the Securities Act.

         Instead, Plaintiff alleges that Defendant’s assessment of whether investment into the

partnership was a security was wrong, and that Plaintiff relied to his detriment on Defendants’

assessment that Plaintiff would not be protected by securities law. Although, as stated above,

there could have been no reliance on Defendants’ alleged misstatements since the Plaintiff

admitted he did not have the Agreements, let alone read them. (Complaint, ¶ 22). Ignoring the

fact that Plaintiff did not read, and thus could not have relied upon any statements made by

Plaintiff, the allegation that Plaintiff was advised that a lower level of regulatory protection

existed does not make sense and it does not plead an element of the claim.

         In short, Plaintiff did not, and cannot, claim that Defendants made a fraudulent

misrepresentation about some material fact concerning Plaintiff’s investment. And Plaintiff did

not and cannot show that Defendants made any allegedly fraudulent misrepresentation about any

material fact arising outside the scope of the securities laws. Therefore, Count II must be

dismissed.

III.     No Private Cause of Action Exists to Support Count III.

         Like Count I, Count III fails as no private cause of action exists. Plaintiff claims here

that Defendants – again individually or collectively, Plaintiff does not say which – have failed to




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register as a broker-dealer, or they have aided and abetted unregistered broker-dealers in their

efforts to garner investments. But again, as set forth in greater detail in the incorporated

memorandum, no private cause of action exists and Plaintiff is not entitled to the relief he seeks

as a matter of law.

         Plaintiff has not pleaded an essential element of his claim for a private action for

rescission under Section 29(b). Thus, Count III must be dismissed.

                                        MEMORANDUM OF LAW

         A motion under Rule 12(b)(6) challenges the sufficiency of the complaint to state a claim

upon which relief may be granted. Hallinan v. Fraternal Order of Police of Chi. Lodge No. 7,

570 F.3d 811, 820 (7th Cir. 2009). A complaint must contain sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678,

(2009) (quoting Bell Atl. Corp. v. Twombly, 544, 550 U.S. 544, 570 (2007) (internal citations

omitted). These allegations "must be enough to raise a right to relief above the speculative

level." Twombly, 550 U.S. at 555.

         Speculation about either the entitlement or basis for relief, however, does not merit

deference. The allegations that are entitled to the assumption of truth are those that are factual,

rather than mere legal conclusions. Iqbal, 556 U.S. at 678-79. Vogel v. McCarthy, Burgess, &

Wolff, Inc., No. 17 C 6681, 2018 U.S. Dist. LEXIS 131856, at *3-4 (N.D. Ill. Aug. 6, 2018).

Likewise, allegations stated in the form of unsubstantiated legal conclusions, which Plaintiff here

has substituted for allegations of fact, are insufficient to survive a motion to dismiss. Simpson v.

Tri Valley Cmty. Unit Sch. Dist. No. 3, No. 1:17-cv-01340-JES-JEH, 2018 U.S. Dist. LEXIS

113209, at *6 (C.D. Ill. July 9, 2018).




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         On a motion to dismiss, this Court may consider the complaint itself, documents attached

to the complaint, documents central to the complaint (to which the complaint refers), and

information properly subject to judicial notice. Norix Grp., Inc. v. Corr. Techs., Inc., No. 17-cv-

07914, 2018 U.S. Dist. LEXIS 131435, at *5 (N.D. Ill. Aug. 6, 2018); see also Great W. Cas.

Co. v. Ross Wilson Trucking, No. 3:16-CV-03253, 2017 U.S. Dist. LEXIS 142418, at *2 (C.D.

Ill. Sep. 1, 2017) (noting that the court may consider documents referred to in the complaint that

are central to the claim on a Rule 12(b)(6) motion to dismiss (citing 188 LLC v. Trinity Indus.,

Inc., 300 F. 3d 730, 735 (7th Cir. 2002)).

         Plaintiffs’ Complaint does not survive this standard.

IV.      Count I Fails to State a Claim Upon Which Relief may be Granted.

         Count I of the complaint asserts a violation of section 7(a) of the ICA by alleging the

transaction at issue was completed by CMB without proper registration as an investment

company. Plaintiff has no right under 15 U.S.C. § 80(a) to the relief he seeks because no private

right of action is created by the securities laws for failure to register as an investment company.

         The ICA was comprehensively amended in 1970. In addition to amendments in two

substantive areas of the ICA, the bill contained various amendments to the ICA and Investment

Advisors Act designated to "facilitate, update and improve the administration and enforcement"

of the Acts. S. Rep. 91-184, reprinted in [1970] U.S. Code Cong. & Adm. News 4897, 4898.

There is no reference in the statute or legislative history which acknowledges expressly or

impliedly a private cause of action under the ICA for failing to register as an investment

company. The 1970 amendments did not ignore private rights of action, however, but

specifically provided for a private right of action for damages by shareholders suing on behalf of




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the investment company for breach of fiduciary duty by the company's investment advisor with

respect to the receipt of compensation. In this regard, the Senate Report stated:

         Compare, for example, related sections of the ICA. Section 36(b) [15 U.S.C. §
         80a-35(b)] authorizes the Commission and also a shareholder acting on behalf of
         the fund to institute an equitable action involving a claim of breach of fiduciary
         duty. The section makes it explicit that the Commission or any other plaintiff has
         the burden of proving to the satisfaction of the court that the defendant has
         committed a breach of fiduciary duty."

Id.

         Section 80a-35(a), on the other hand, authorizes the Commission to bring an action for

injunctive relief against a person acting in certain capacities (officer, director, advisor, principal

underwriter) with respect to an investment company, which has engaged in or is about to engage

in an act which constitutes a breach of fiduciary duty. There is no private right of action included

in Subsection (a). This provision was part of the original ICA. This is important because it shows

that Congress was mindful of whether to establish a private right of action when it amended the

ICA in 1970.

         The Senate Report made the following statement with regard to Subsections (a) and (b)

and the express provision for a private right of action in the latter:

         Although section 36(b) [15 U.S.C. 80a-35(b)] provides for an equitable action for
         breach of fiduciary duty as does section 36(a), [15 U.S.C. § 80a-35(a)], the fact
         that subsection (b) specifically provides for a private right of action should not be
         read by implication to affect subsection (a). Similarly, the fact that subsection (b)
         specifically places the burden of proof on the plaintiff does not mean that the
         normal rules of evidence which ordinarily place the burden of proof on a plaintiff
         would not apply to subsection (a)."

S. Rep. No. 91-184, supra at 4911.

         If Congress affirmatively intended to preserve an existing private remedy, there are two

logical courses of action which it could have taken. First, Congress could have simply omitted

any specific provision for a private right of action under Subsection 36(b), reasoning that such a



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right was already clearly recognized by the courts. Alternatively, we would expect some

reference in the legislative history approving implication of a private right of action under the

ICA, and explaining the inclusion of such in Subsection (b) as merely evidencing explicit

Congressional approval of a private cause of action in this instance. In this case, Congress

elected neither of the above courses of action. Rather, Congress simply added an express private

right of action under a single section of the ICA, stated that it should not be considered as

affecting another subsection of the statute, and made no reference whatsoever to prior judicial

implication under the ICA generally.

         Likewise with 15 U.S.C. § 35(a), 15 U.S.C. § 41 clearly contemplates enforcement of the

Act by the Commission, and specific reference in that section is made to actions alleging

violations of Section 7 of the Act. The statute further authorizes the SEC to exempt persons from

the Act's coverage, to the extent it is "necessary or appropriate in the public interest and

consistent with the protection of investors and the purposes fairly intended by the policy and

provisions" of the Act. 15 U.S.C. § 80a-6(c). In the absence of any evidence that Congress

intended a private right of action to supplement this enforcement scheme, courts should not

imply a private right of action to compel registration under the ICA. Cf., M.J. Whitman & Co.,

Pension Plan v. Am. Fin. Enters., Inc., 552 F. Supp. 17, 22 (S.D. Ohio 1982), aff'd, 725 F.2d 394

(6th Cir. 1984). The Second Circuit Court of Appeals in Olmsted v. Pruco Life Ins. Co., 283 F.3d

429, 434 n.4 (2d Cir. 2002), cited M.J. Whitman approvingly.

         This issue of an implied private right of action was carefully considered in Alexander v.

Sandoval, in which the Supreme Court strictly limited the ability of federal courts to imply

private rights of action in federal statutes. 532 U.S. 275, (2001). "Like substantive federal law

itself, private rights of action to enforce federal law must be created by Congress." Id. at 286




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(2001). Without Congressional intent expressed in the statute, "a cause of action does not exist

and courts may not create one, no matter how desirable that might be as a policy matter, or how

compatible with the statute." Id. Therefore, courts must begin their inquiry into Congressional

intent "with the text and structure" of the statute. Id. at 288.

         While section 47(b) expressly authorizes rescission as a private remedy for contracts that

violate the ICA, such language is not sufficient to find an implied private right of

action. Sandoval held that the "judicial task is to interpret the statute Congress has passed to

determine whether it displays an intent to create not just a private right but also a private

remedy." 532 U.S. at 286. Here, section 47(b) contains a remedy, but not a substantive

right. Accordingly, courts considering section 47(b) after Sandoval have held or assumed that the

provision provides a remedy rather than a distinct cause of action or basis of liability. See,

e.g., Smith v. Franklin/Templeton Distribs., No. C 09-4775 (PJH), 2010 U.S. Dist. LEXIS 56516,

2010 WL 2348644, at *7 (N.D. Cal. Jun. 8, 2010) ("By its terms, § 47(b) provides a remedy . . .

rather than a distinct cause of action or basis for liability.") ("Franklin/Templeton I"); Stegall v.

Ladner, 394 F. Supp. 2d 358, 378 (S.D.N.Y. 2005) (parties concede that "ICA § 47(b) provides a

remedy rather than a distinct cause of action or basis of liability"); Mutchka, 373 F. Supp. 2d at

1027 ("The parties agree that Section 47(b) is remedial in nature and does not itself provide a

cause of action"). The substantive right arguably protected by section 47(b) must be inferred

from the substantive violation that a plaintiff alleges as a predicate for the rescission action. As a

result, when courts dismiss claims that allege ICA violations as predicates to a section 47(b)

claim, those courts also dismiss the section 47(b) claim. See, e.g., Franklin/Templeton I, 2010

U.S. Dist. LEXIS 56516, 2010 WL 2348644, at *7 ("Because the complaint alleges no violation

of the ICA which can provide a predicate for the claim under § 47(b), the court finds that the §




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47(b) claim fails to state a claim and must be dismissed."). As this analysis shows, section

47(b) cannot bestow a private right of action on substantive provisions of the ICA that lack such

an action.

         While a private right of action may once have existed under the Investment Company Act

for violations of Section 7(a), no such right presently survives. Count I of the Complaint must be

dismissed.

V.       Plaintiff’s Count II Fails to State a Cognizable Claim.

         In Count II, Plaintiff seeks a declaration that the agreements are securities and that

Defendants committed fraud by failing to disclose the same. But Plaintiff here has neither

adequately pled a claim of fraud, nor is he entitled to relief under section 10b-5.

         A. Plaintiff Has Not and Cannot Plead the Elements of Fraud.

              In order to state a claim of fraud, a Plaintiff must state with particularity the

circumstances constituting the fraud. In addition to the general standards for a Motion to

Dismiss, plaintiffs must plead their accusations of fraud with particularity. Fed. R. Civ. P. 9(b);

Arazie v. Mullane, 2 F.3d 1456, 1465 (7th Cir. 1993) (stating that particularity requires the party

to specify the "who, what, when, where, and how" of the alleged fraudulent act). Reger Dev.,

LLC v. Nat’l City Bank, 592 F.3d 759, 765 (7th Cir. 2010).

              “The elements of a private securities fraud claim based on violations of § 10(b) and

Rule 10b-5 are: (1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

connection between the misrepresentation or omission and the purchase or sale of a security; (4)

reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”

Erica P. Hohn Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809-10 (2011) (citations omitted).

To show scienter the plaintiff must show “a ‘mental state embracing intent to deceive,

manipulate, or defraud.’” Davis v. SPSS, Inc., 385 F. Supp. 2d 697, 712 (N.D. Ill. 2005)


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(quoting Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 n.12 (1976)). Reckless disregard for

the truth will establish scienter under a Rule 10b-5 claim.             Id.   “Recklessness is highly

unreasonable conduct beyond simple or even inexcusable negligence that represents an extreme

departure from the standards of ordinary car, such that its danger is either known to the

defendant or so obvious that the defendant must have been aware of it.” Id. (citing Sundstrand

Corp. v. Sun Chem. Corp., 553 F.2d 1033, 1045 (7th Cir. 1977)). All of these elements must

have been pled with particularity, and none of them were.

              In the Complaint, Plaintiff’s sole source for his allegation that Defendants

misrepresented whether the Group 48 offering was a security are statements in the PPM,

Complaint, ¶ 49 (“Defendants flatly say: ‘the partnership does not believe the Units constitute

‘securities’”); a statement in the PPM of intent to rely on Rule 506 as exemption and that they

did not file the forms required for the exemption, id., ¶ 483; and a later statement within the PPM

that the limited partnership is not a security, id., ¶ 514.5 The furthest these statements go is to

show that these Defendants were allegedly wrong about their belief as to whether the limited

partnership units did or did not constitute a security. Nowhere in the Complaint is there a

statement that the Defendants did know the limited partnership units are a security and they




3
    This is the second numbered Paragraph 48, which appears after Paragraph 49.
4
    It should be noted that the section of the PPM cited by Plaintiff in Paragraph 51 of the
      Complaint does not state that the limited partnership is not a security; rather, the cited section
      points out to the prospective limited partner that he or she will not earn a profit on the
      amount paid.
5
    Any statements made by Plaintiff’s agent cannot be the basis for liability against Defendants
     because there is no private right of action for aiding and abetting a fraud claim under § 10(b);
     “[t]he conduct of a secondary actor must satisfy each of the elements or preconditions for
     liability.” Stoneridge Inv. Partners, LLC. v. Scientific-Atlanta, 552 U.S. 148, 158 (2008).



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intentionally misrepresented that knowledge for their material benefit.         In fact, Defendants

pointed out that they could be wrong in their belief, stating that:

         If the SEC or a U.S. court were to determine that the Units are ‘securities’ (which
         the Partnership believes is unlikely), there can be no assurance that significant
         liability (and costs prior to such a determination upon an investigation, suit or
         enforcement action) for failure to comply with any or all such laws and related
         rules and regulations would not result to the Partnership resulting in a Material
         Adverse Effect.

                 Further, there is no guarantee that all courts or regulatory bodies with
         proper jurisdiction would not take a position that is adverse to the Partnership, to
         which the Partnership would likely strongly object in such a case. Investors and
         their advisors should consider the risks of unforeseen costs and liabilities to the
         Partnership in that event, and the potential of the Investor to lose their investment
         in such a circumstance.


Dkt. 1, Exh. 1, p.62 [page 76 of the PDF]. The Defendants clearly and specifically pointed out

the possibility, and consequences, that they could be mistaken. This renders the possibility of

finding the requisite scienter element impossible for Plaintiff to show.

              Further, it is plain from the judicial admissions made in the Complaint that Plaintiff

cannot make the required showing of scienter as to the Defendants’ alleged fraud. As Plaintiff

pleaded, Defendants wrote in the PPM as to their belief regarding whether the limited

partnership units were a security; and then they wrote that the limited partnership units were not

a security. 6 Whether or not the limited partnership units are securities, and Plaintiff expends all

of his pleading demonstrating his conviction that they are securities, the very presence of these

contradictory statements both precludes Plaintiff from effectively pleading scienter as the chief




6
    Again, it should be pointed out that nowhere in the PPM did Defendants state that the limited
     partnership units were not a security, but merely stated that Group 48 did not believe the
     units were a security. See Dkt. 1, Exh. 1.



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element of the alleged fraud, and prevents Plaintiff from later effectively claiming that

Defendants had the knowledge he now claims they fraudulently misrepresented.

              Moreover, Plaintiff goes to great lengths to show that he received limited information

regarding the documents making up the Subscription Agreement, the LPA and the PPM. In the

Complaint, Plaintiff alleges that he received only 21 pages of the investment documents . . . a

few pages plus the signature pages.” Complaint, ¶ 22. Further, Mr. Zhan alleges that he received

no translated documents, only verbal instructions from his attorney, and he does not read or

speak English. Id. Taking these allegations as true, and considering Plaintiff’s later allegations

that the misrepresentations exist only in the written documents, it is impossible that Mr. Zhan

relied upon these statements to his detriment even if they were made with knowledge of their

falsity.7

              Because Mr. Zhan could not have relied on the documents containing the statements

he claims were false, and because he cannot show that the statements were made with scienter as

to veracity, Count II must be dismissed for failure to state a claim upon which relief may be

granted. The allegations do not meet the pleading standard under Arazie, supra.

         B. Plaintiff’s Allegations of Misrepresentation are Misguided as to the Materiality of the
            Statements.

         In addition to the factual inconsistencies and inadequacies, Plaintiff did not and cannot

show that Defendants made any allegedly fraudulent misrepresentation about any material fact

arising outside the scope of the securities laws, as required to state a 10b-5 claim. Plaintiff’s


7
    Furthermore, Plaintiff would have no standing to bring a Rule 10b-5 claim based upon
     statements he discovered after the purchase of the limited partnership units. See Davis, 385
     F. Supp. 2d at 706 (“The Seventh Circuit has held that a plaintiff does not have standing to
     bring a Rule 10b-5 claim based on allegedly false statements made by defendants after
     plaintiff purchased the defendant company’s stock.”).



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entire case rests on the premise that he was misinformed regarding whether the partnership was a

security. But as the Supreme Court has instructed a party’s false or material misstatement of

information to another is actionable by another private party under 10b-5 only when there is an

independent duty to disclose the information arising from a fiduciary or other similar relation of

trust and confidence between the parties. Chiarella v. United States, 445 U.S. 222, 228 (1980).

And further, the duty to disclose material facts arises only when there is a duty to disclose that

exists outside the securities laws for finding a fiduciary or confidential relationship. Forston v.

Winstead, 961 F.2d 469, 472 (4th Cir. 1992).

         1. Defendants had no fiduciary relationship with Plaintiff, and so Defendants had no duty
            to disclose material information as Plaintiff claims.

         Under Rule 10b-5, a defendant can be liable for the knowing misrepresentation or

omission of material information only if he or she has a duty to disclose that information.

Chiarella, at 235; Desai v. Deutsche Bank Sec. Ltd., 573 F.3d 931, 938 (9th Cir. 2009). A duty to

disclose does not arise from the mere possession of non-public information. Chiarella, at 235.

And as to a broader view of the duty to disclose, based on the parties’ relationship, generally

“parties to an impersonal market transaction owe no duty of disclosure to one another absent a

fiduciary or agency relationship, prior dealings, or circumstances such that one party has placed

trust and confidence in the other.” Paracor Fin. v. Gen. Elec. Capital Corp., 96 F.3d 1151, 1157

(9th Cir. 1996).

         Plaintiff here admits in his Complaint that he had no relationship with Defendants at all.

While he and his attorney had a fiduciary relationship, the duties arising out of their relationship

did not accrue to Defendants. And this certainly was an impersonal market transaction.

Even with respect to a private placement memorandum, the duty to disclose whether an offering

is a security arises “when one party has information that the other party is entitled to know



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because of a fiduciary duty or similar relation of trust and confidence between them. Chiarella,

supra; Badger v. S. Farm Bureau Life Ins. Co., 612 F.3d 1334, 1340-46 (11th Cir. 2010). In this

instance, the question of whether the Group 48 offering was a security is not information that

Defendants had and Plaintiff did not. As discussed in the next section, the question of whether an

investment is a security is not a fact susceptible to disclosure, and even if it were, Defendants

were under no fiduciary obligation to Plaintiff to make the disclosure.

         2. Whether the partnership offering was a security is not the category of information that
            must be disclosed, even in the presence of a fiduciary relationship.

         The question of whether the Group 48 offering is a security is a question of law, or mixed

law and fact, and is not a fact that must be disclosed in the context of a duty to disclose material

information related to an investment.

         Courts have long treated the question of whether an investment is a security as one of law

and not fact, or at least one of mixed fact and law. The Eighth Circuit examined the scope of

section 2311 in United States v. Speidel, 562 F.2d 1129 (8th Cir. 1977), cert. denied, 435 U.S.

915, (1978). The district court below had dismissed an indictment under section 2314 on the

ground that quitclaim deeds, as a matter of law, were not securities under section 2311. The

circuit court reversed, relying on legislative history, statutory construction, and other methods of

legal interpretation to conclude that as a matter of law quitclaim deeds do constitute "securities"

under section 2311.

         The Sixth Circuit, in United States v. Deaton, 364 F.2d 820, 821 (6th Cir. 1966), cert.

denied, 386 U.S. 977 (1967), found that checks were securities under section 2311 as a matter of

law, citing United States v. Sheridan,329 U.S. 379 (1946). Accord, United States v. Tucker, 473

F.2d 1290 (6th Cir.), cert. denied, 412 U.S. 942, (1973). Similar holdings have been made in the

Second Circuit, United States v. Wexler, 621 F.2d 1218 (2d Cir.), cert. denied,              (1980)



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(equipment leases), and the Tenth Circuit, United States v. Roby, 499 F.2d 151 (10th Cir.1974)

(money orders); United States v. Austin, 462 F.2d 724 (10th Cir.), cert. denied, 409 U.S. 1048,

(1972) (loan commitment letters).

         Because the question of whether investments are securities is a matter of law, then

Defendants’ alleged failure to disclose that the Group 48 offering and partnership interests were

a security could not constitute a material fact to be disclosed.

         In contrast, the Northern District of Illinois decided a matter that is instructive as to the

type of representations that can form the basis of an action for fraudulent misrepresentation. In

United States SEC v. Sentinel Mgmt. Group, Inc., 07 C 4684, 2012 U.S. Dist. LEXIS 57579, at

*15-16 (N.D. Ill. Mar. 30, 2012), the SEC alleged that a Mr. Bloom misrepresented the risk

associated with Sentinel's investment strategy in four ways: (1) Bloom failed to disclose

Sentinel's extensive use of leverage; (2) Bloom misrepresented that investors' assets would be

properly segregated; (3) Bloom failed to disclose that Sentinel commingled interest from its

House and client accounts; and (4) Bloom misrepresented that Sentinel would not invest in

below-grade securities.

         The Court held these misrepresentations to be material, finding that “to the extent that

Bloom made such misrepresentations, we find that the alleged misrepresentations are material as

a matter of law. An omission or misrepresentation is material if there is a substantial likelihood

that full disclosure would have been viewed by the reasonable investor as having altered the

"total mix" of information made available. Basic Inc. v. Levinson, 485 U.S. 224, 231, (citing TSC

Indus. v. Northway, Inc., 426 U.S. 438, 449 (1976); Sentinel at *15-16.

         In claiming that Defendants had a duty to disclose whether the offering was a security,

Plaintiff has the rationale for the obligation upside-down. The fact of registration or the legal




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obligation to do so is not the material information that must be disclosed; rather, securities are

registered to ensure disclosure of material information.

         Based on the foregoing, Defendants submit the Court should dismiss Count II of the

Complaint.

VI.      No Private Right of Action Exists to Support Count III.

         Like Count I, Count III fails as no private right of action exists. Plaintiff claims in Count

III that Defendants have failed to register as a broker-dealer, or they have aided and abetted

unregistered broker-dealers in their efforts to garner investments. But again no private cause of

action exists, and Plaintiff is not entitled to the relief he seeks as a matter of law.

         Plaintiff alleges in Count III of the Complaint that because Section 15(a)(1) of the

Exchange Act was violated because a finder associated with CMB did not properly register as a

broker-dealer, and so “every contract made” in violation of that statute should be rescinded as

void pursuant to section 29(b) of the Exchange Act. Plaintiff also broadly and misleadingly

asserts in Count III that section 20(e) of the Exchange Act “imposes aiding-and-abetting liability

on any person that knowingly or recklessly provides substantial assistance in a violation of the

Exchange Act,” implying without expressly alleging that he, and not exclusively the SEC, may

take corrective action. But here, too, Plaintiff lacks a right to bring a claim on these bases.

Plaintiff cannot point to an expressly sanctioned private right of action, and any implied private

right of action was vacated a long time ago.

         Although Plaintiff may argue that there is an implied cause of action under Section

15(a)(1), no court which has considered the issue since Cort v. Ash, 422 U.S. 66 (1975), has

implied a private right of action under Section 15 or Section 15(a). See, e.g., Walck v. Am. Stock

Exch., Inc., 565 F. Supp. 1051 (E.D. Pa. 1981) (no implied cause of action under Section 15),




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aff'd on other grounds, 687 F.2d 778 (3d Cir. 1982), cert. denied, 461 U.S. 942, 77 (1983); Bull

v. Am. Bank and Trust Co., 641 F. Supp. 62 (E.D. Pa. 1986) (no private right of action under

Section 15(a)(1)); Admiralty Fund v. Hugh Johnson & Co., 677 F.2d 1311, 1313-14 (9th Cir.

1982) (no private cause of action under Section 15). For example, in Walck the court found that

“[n]either the express language nor the legislative history of Section 15 provides a basis for

concluding that Congress intended to create a right of action for money damages." Walck, 565 F.

Supp. at 1059. Courts around the country have followed suit, holding time and again that the

remedy for aiding and abetting the unlicensed sale of securities is the sole province of the SEC.

         This issue was again addressed in Cohen v. Citibank, N.A., 95 Civ. 4826 (BSJ), 1997 U.S.

Dist. LEXIS 2112, at *4-5 (S.D.N.Y. Feb. 26, 1997), which again found that, since Ash, no court

has found that a private right of action exists pursuant to Section 15. Furthermore, in holding that

"Section 15(c)(1) does not create a private cause of action," the Second Circuit has stated that

there is "little or nothing else to indicate that Congress intended to create" a private right of

action under Section 15 in general. Asch v. Philips, Appel & Walden, Inc., 867 F.2d 776, 777 (2d

Cir. 1989).

         As noted in SEC v. Langford, No. 8:12CV344, 2013 U.S. Dist. LEXIS 66266, at *19-20

(D. Neb. May 9, 2013), unlike private individuals or investors, the SEC may file actions for

aiding and abetting securities violations. See Stoneridge Inv. Partners LLC v. Sci.-Atl., Inc. 552

U.S. at 162 (noting that Congress amended the securities laws to provide for limited coverage of

aiders and abettors—aiding and abetting liability is authorized in actions brought by the SEC but

not by private parties); Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511

U.S. 164, 176-77 (1994) (holding that there is no private right of action for aiding and abetting a

§ 10(b) violation); 15 U.S.C. § 78t(e) (1995) (in Section 104 of the PSLRA, Congress granted




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the SEC authority to prosecute the aiding and abetting of securities-law violations under

Section 20(e) of the Exchange Act); Janus Capital Grp. Inc. v. First Derivative Traders, 564

U.S. 135, 152 (stating that § 10(b) and Rule 10b-5 do not provide for "aiding and abetting"

liability in private suits). Under 15 U.S.C. § 78t(e), "any person that knowingly or recklessly

provides substantial assistance to another person in violation of a provision of this chapter, or of

any rule or regulation issued under this chapter, shall be deemed to be in violation of such

provision to the same extent as the person to whom such assistance is provided." 15 U.S.C. §

78t(e).

          Accordingly, plaintiff cannot maintain his Section 15 claims against Defendants, who

respectfully suggest they must be dismissed without leave to re-plead. Cf., Cook v. Bates, 92

F.R.D. 119, 121 (S.D.N.Y. 1981) (holding same).

          Further, section 20(e) explicitly provides that liability for aiding and abetting, also pled

by Plaintiff, can only be pursued by the SEC:

          Prosecution of persons who aid and abet violations. For purposes of any action brought
          by the Commission under paragraph (1) or (3) of section 21(d) [15 USCS § 78u(d)], any
          person that knowingly or recklessly provides substantial assistance to another person in
          violation of a provision of this title [15 USCS §§ 78a et seq.], or of any rule or regulation
          issued under this title [15 USCS §§ 78a et seq.], shall be deemed to be in violation of
          such provision to the same extent as the person to whom such assistance is provided.


15 U.S.C. § 78t (emphasis added); see Stoneridge, 552 U.S. at 162-63 (2008) (“Aiding and

abetting liability is authorized in actions brought by the SEC but not by private parties.”)

          Plaintiff simply has no right to a private cause of action because he has no private

authority to charge Defendants with a direct violation of Section 15(a) or with aiding and

abetting a violation of the securities laws. Despite his vigorous protestations regarding

Defendants’ conduct, neither Plaintiff nor his counsel’s legal conclusions can make or seek a




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determination of the wrongful conduct claimed. And because he has no standing as a private

party to establish that Defendants engaged in wrongful conduct, the remedy of rescission for

Defendants allegedly wrongful acts is unavailable.

         Thus, Plaintiff’s Complaint for alleged violation of Section 15(a)(1) of the Exchange Act

of 1934 should be dismissed for failure to state a claim.

                                             CONCLUSION

         For the reasons set forth in Defendants’ Motion to Dismiss, as supported herein, thus

each of Plaintiff’s claims should be dismissed. Count I should be dismissed with prejudice for

failure to state a claim on which a private cause of action may be maintained. Count II should be

dismissed for failure to state a claim upon which relief can be granted, and without opportunity

to re-plead because Plaintiff has admitted an inability to show scienter or materiality. Count III

should be dismissed for failure to state a claim because no private cause of action exists for

Section 15(a)(1) claims.




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system and served electronically to all Parties on this 27th day of

August 2018.

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                                                       /s/ Donald E. Lake, III
                                                       Donald E. Lake, III




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